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   8                           UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
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  11   ARON GUTIERREZ,                               Case No. CV 20-3233 JGB (PVC)
  12                       Petitioner,               ORDER ACCEPTING FINDINGS,
                                                     CONCLUSIONS AND
  13         v.                                      RECOMMENDATIONS OF UNITED
                                                     STATES MAGISTRATE JUDGE
  14   NEIL MCDOWELL, Warden,
  15                       Respondent.
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  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition in the above-
  18   captioned matter, all the records and files herein, and the Report and Recommendation of
  19   the United States Magistrate Judge. The time for filing Objections to the Report and
  20   Recommendation has passed and no Objections have been received. Accordingly, the
  21   Court accepts and adopts the findings, conclusions and recommendations of the
  22   Magistrate Judge.
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  24         IT IS ORDERED that Judgment shall be entered dismissing this action without
  25   prejudice.
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